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                       1 Leonard M. Shulman - Bar No. 126349
                         Rika M. Kido - Bar No. 273780
                       2 SHULMAN HODGES & BASTIAN LLP
                         100 Spectrum Center Drive, Suite 600
                       3 Irvine, California 92618
                         Telephone:      (949) 340-3400
                       4 Facsimile:      (949) 340-3000
                         Email: lshulman@shbllp.com,
                       5         rkido@shbllp.com

                       6 Attorneys for Lynda T. Bui,
                         Chapter 7 Trustee
                       7

                       8                              UNITED STATES BANKRUPTCY COURT

                       9                 CENTRAL DISTRICT OF CALIFORNIA, RIVERSIDE DIVISION
                     10

                     11 In re                                                Case No. 6:16-bk-16877-WJ

                     12 RUSSEL DENNIS HILES, III,                            Chapter 7

                     13 Debtor.                                              CHAPTER 7 TRUSTEE’S APPLICATION
                                                                             FOR AN ORDER AUTHORIZING
                     14                                                      EMPLOYMENT OF GLASSRATNER
                                                                             BROKERAGE SERVICES, INC.;
                     15                                                      DECLARATION OF STEVEN SPEIER IN
                                                                             SUPPORT
                     16
                                                                             [No Hearing Set Pursuant to
                     17                                                      Local Bankruptcy Rule 2014-1(b)]

                     18

                     19

                     20            TO THE HONORABLE WAYNE E. JOHNSON, UNITED STATES BANKRUPTCY
                     21 JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE AND ALL INTERESTED

                     22 PARTIES:

                     23            Lynda T. Bui (“Trustee”), the duly appointed, qualified, and acting Chapter 7 Trustee for the
                     24 bankruptcy estate (‘Estate”) of Russel Dennis Hiles, III (“Debtor”), brings this application

                     25 (“Application”) for an order authorizing the employment of GlassRatner Brokerage Services, Inc.

                     26 (“Broker”) as the Trustee’s real estate broker in this bankruptcy case to assist the Trustee in the

                     27 listing, marketing and negotiating of a sale of the Estate’s interest in certain real property identified

                     28 below. In support of the Application, the Trustee respectfully represents as follows:
 SHULMAN HODGES &
     BASTIAN LLP
100 Spectrum Center Drive
        Suite 600
                                                                             1
    Irvine, CA 92618        Employ App GlassRatner TC Hiles
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                       1                                   I.       BACKGROUND INFORMATION

                       2 A.         Case Information

                       3            The Debtor filed a chapter 11 bankruptcy petition on August 1, 2016 (“Petition Date”), in the

                       4 United States Bankruptcy Court, Central District of California, Case No. 6:16-bk-16877-WJ.

                       5 Pursuant to order entered on December 21, 2017 (docket 275), the case was converted to a Chapter

                       6 7 and Lynda T. Bui was subsequently appointed as the Chapter 7 trustee for this Estate.

                       7 B.         The Palm Desert Property

                       8            On his Schedule A/B, the Debtor lists his ownership of the residence located at 155 Metate

                       9 Place, Palm Desert, California 92260 (“Palm Desert Property”). The Debtor valued the Palm Desert
                     10 Property at $2,750,000.00 and on his Schedule D, listed the following liens totaling $2,824,674.62:

                     11 (1) lien in favor of Bank of America in the amount of $1,395,102.00; (2) lien in favor of De Castro

                     12 West et al. (“De Castro”) in the amount of $60,000.00; and (3) lien in favor of the California

                     13 Franchise Tax Board (“FTB”) in the amount of $1,369,572.62. On his Schedule C, the Debtor

                     14 claimed an exemption in the amount of $175,000.00 pursuant to California Code of Civil Procedure

                     15 § 704.730.

                     16             From the Debtor’s Schedules, it appears there is no equity in the Palm Desert Property for the
                     17 benefit of the Estate and its creditors. However, the Trustee is advised that the liens in favor of De

                     18 Castro and the FTB were each recorded within 90 days prior to the Petition Date and are both subject

                     19 to avoidance under the Trustee’s powers under the Bankruptcy Code, including Section 547.

                     20             The Trustee has been informed by the Broker that the Debtor appears to have over-stated the
                     21 value of the Palm Desert Property on his Schedules. The Broker has advised that based on

                     22 comparable properties in the area, a realistic value of the Palm Desert Property is approximately

                     23 $2,650,000.00. Even with this lower value and after deducting the costs of sale and amount due on

                     24 the mortgage, after the Trustee successfully avoids the De Castro and FTB liens (which total

                     25 $1,429,572.62), there appears to be substantial equity in the Palm Desert Property for the benefit of

                     26 the Estate and its creditors. 1

                     27
                            1
                     28        The last day to timely file proof of claims in this case is April 9, 2018. Government claims were due by June 5,
 SHULMAN HODGES &
                            2017. The Court’s claims register indicates that as of February 5, 2018, there have been 27 claims filed totaling
     BASTIAN LLP
100 Spectrum Center Drive
        Suite 600
                                                                                    2
    Irvine, CA 92618        Employ App GlassRatner TC Hiles
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                       1                                  II.      SERVICES TO BE PERFORMED

                       2            In order to market the Palm Desert Property for sale in the most effective manner and thereby

                       3 to liquidate it for the best and highest price in the current real estate market, the Trustee has solicited

                       4 the assistance of the Broker, which is a California licensed real estate broker with offices located at

                       5 19800 MacArthur Boulevard, Suite 820, Irvine, California, telephone number 949-510-4018.

                       6 Attached to the Declaration of Steven Speier (“Speier Declaration”) as Exhibit 1 is a true and

                       7 correct copy of the Residential Listing Agreement (Exclusive Authorization and Right to Sell) and

                       8 its addenda, for which the Trustee seeks Court approval. Attached as Exhibit 2 to the Speier

                       9 Declaration is a copy of Mr. Speier’s resume, the associate of the Broker firm, who will oversee the
                     10 listing and marketing of the Palm Desert Property for sale.

                     11             The Broker is familiar with the sale of real property in the context of a bankruptcy case and
                     12 will be able to provide knowledge that is unique to the sale of Palm Desert Property and to negotiate

                     13 a sale to address any potentially complex bankruptcy sale issues. The Trustee is informed that the

                     14 Broker is experienced in real estate sales and marketing, including the area in which the Property is

                     15 located, and is well qualified in negotiating sales of real property similar to the Palm Desert

                     16 Property. The employment of the Broker is anticipated to benefit the Estate by providing marketing

                     17 coverage as well as services that are unique to the sale of real property in the context of a bankruptcy

                     18 case.

                     19             The Broker, on the Trustee’s behalf, has examined the Palm Desert Property and has agreed
                     20 to advertise the Property at its expense, to show the Palm Desert Property to interested parties, to

                     21 represent the Estate as seller in connection with the sale of the Palm Desert Property, and to advise

                     22 the Trustee with respect to obtaining the highest and best offers available for the property in the

                     23 present market. The proposed listing price for the Palm Desert Property is $2,650,000.00.

                     24             Any sale of the Palm Desert Property by the Trustee will be conducted in accordance with
                     25 Bankruptcy Code Section 363 and Federal Rule of Bankruptcy Procedure 6004 upon a noticed

                     26 motion to be filed in the Debtor’s bankruptcy case.

                     27

                     28 $22,713,290.50, consisting of secured claims $3,956,552.40, priority claims of $4,150,470.09, administrative claims of
 SHULMAN HODGES &
                            $325.00 and general unsecured claims of $14,605,943.01.
     BASTIAN LLP
100 Spectrum Center Drive
        Suite 600
                                                                                      3
    Irvine, CA 92618        Employ App GlassRatner TC Hiles
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                       1 A.        Compensation Procedure

                       2           In consideration for the Broker’s services, subject to further application and Court order, the

                       3 Broker will receive, upon consummation of any such sale, a real estate agent’s commission in an

                       4 amount of five percent (5%) of the purchase price. The Broker has agreed to cooperate with outside

                       5 brokers. In the event any broker or agent other than the Broker represents a purchaser of the Palm

                       6 Desert Property (a “Selling Broker”), the commission will be split between the Broker and the

                       7 Selling Broker in amounts to be determined. In any event, the total commission will not exceed five

                       8 percent (5%) of the total purchase price.

                       9           The Broker has been informed and understands that no sale of the Palm Desert Property may
                     10 be consummated until after (a) notice to creditors with the opportunity for a hearing on the proposed

                     11 sale, and (b) entry of a Court order approving the sale.

                     12            The Broker has been informed and understands that the Palm Desert Property is being sold
                     13 on an “as is – where as” basis with all faults and conditions then existing at the Palm Desert Property,

                     14 and thus understands that (a) the Trustee is not making any representations, warranties, either

                     15 express or implied, as to the condition of the Palm Desert Property, uses (prior, present and future),

                     16 or otherwise; (b) the Trustee shall not provide the buyer with any reports as to the use or condition

                     17 of the Palm Desert Property; (c) the Trustee shall not provide the buyer with any warranty protection

                     18 plan with any building permits or plans; and (d) the Trustee is selling the Palm Desert Property

                     19 solely in her capacity as the Chapter 7 Trustee of the Estate.

                     20            The Broker has agreed to be compensated subject to the provisions of Bankruptcy Code
                     21 Section 328. The Broker is aware of the provisions of Bankruptcy Code Section 328(a) and has

                     22 agreed, notwithstanding the terms and conditions of employment here, that the Court may allow

                     23 compensation different from the compensation provided here, if such terms and conditions prove to

                     24 have been improvident in light of developments unanticipated at the time of the fixing of such terms

                     25 and conditions.

                     26 B.         The Broker is “Disinterested”

                     27            To the best of the Trustee’s knowledge, and as set forth in the Speier Declaration, other being

                     28 employed as a real estate broker in other non-related bankruptcy cases, the Broker and members of
 SHULMAN HODGES &
     BASTIAN LLP
100 Spectrum Center Drive
        Suite 600
                                                                             4
    Irvine, CA 92618        Employ App GlassRatner TC Hiles
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                   DECLARATION
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                       1                                 DECLARATION OF STEVEN SPEIER

                       2           I, Steven Speier, declare and state as follows:

                       3           1.      The matters stated here are true and correct and within my personal knowledge. If

                       4 called as a witness, I could and would competently testify thereto. I am a real estate broker, duly

                       5 licensed in the State of California and associated with GlassRatner Brokerage Services, Inc. located

                       6 at 19800 MacArthur Boulevard, Suite 820, Irvine, CA 92612; telephone 949-510-4018. I make this

                       7 declaration in support of the Application for Order Authorizing Employment of GlassRatner

                       8 Brokerage Services, Inc. (“Application”) filed by Lynda T. Bui, the Chapter 7 trustee (“Trustee”)

                       9 for the bankruptcy estate (“Estate”) of In re Russel Dennis Hiles, III (“Debtor”), Case No. 6:16-bk-
                     10 16877-WJ.

                     11            2.      I have read the Application and am familiar with the real property located at 155
                     12 Metate Place, Palm Desert, California 92260 (“Property”).

                     13            3.      The Broker has agreed to accept employment on the terms and conditions set forth
                     14 in the Application and as set forth in the Residential Listing Agreement (Exclusive Authorization

                     15 and Right to Sell) and its addenda, a copy of which is attached here as Exhibit 1 and incorporated

                     16 here by this reference. I believe that the Broker is qualified to represent the Trustee and the Estate

                     17 in connection with the marketing of the Property and negotiating a sale. Attached here as Exhibit

                     18 2 is a copy of my resume.

                     19            4.      I have been informed and understand that no sale of the Property may be
                     20 consummated until after (a) notice to creditors with the opportunity for a hearing on the proposed

                     21 sale, and (b) entry of a Court order approving the sale.

                     22            5.      I have been informed and understand that the Property is being sold on an “as is –
                     23 where as” basis with all faults and conditions then existing at the Property, and thus understand that:

                     24 (a) the Trustee is not making any representations, warranties, either express or implied, as to the

                     25 condition of the Palm Desert Property, uses (prior, present and future), or otherwise; (b) the Trustee

                     26 shall not provide the buyer with any reports as to the use or condition of the Property; (c) the Trustee

                     27 shall not provide the buyer with any warranty protection plan with any building permits or plans;

                     28
 SHULMAN HODGES &
     BASTIAN LLP
100 Spectrum Center Drive
        Suite 600
                                                                             6
    Irvine, CA 92618        Employ App GlassRatner TC Hiles
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                       1 and (d) the Trustee is selling the Property solely in her capacity as the Chapter 7 trustee of the

                       2 Debtor’s Estate.

                       3           6.      The Broker has agreed and understand that notwithstanding the terms and conditions

                       4 of employment set forth here, that the Court may allow compensation different from the

                       5 compensation provided here if such terms and conditions prove to have been improvident in light

                       6 of development unanticipated at the time of the fixing of such terms and conditions.

                       7           7.      The Broker has no pre-petition claim against the Debtor’s Estate.

                       8           8.      The Broker received no retainer for the services to be performed.

                       9           9.      To the best of my knowledge after full investigation, the Broker firm and its
                     10 principals, employees, agents and I:

                     11                    a. do not hold or represent any interest adverse to the Trustee, the Debtor, Debtor’s
                     12 creditors or the Estate;

                     13                    b. Other than being employed as a real estate broker in other non-related bankruptcy
                     14 cases, have no connections with the Debtor, the Debtor’s creditors, any other party in interest, their

                     15 respective attorneys and accountants, the United States Trustee, any person employed in the office

                     16 of the United States Trustee (except that I am a member of the Chapter 7 Bankruptcy Trustee panel

                     17 for the Central District of California appointed and supervised by the Office of the United States

                     18 Trustee), or any bankruptcy judge presiding in the United States Bankruptcy Court for the Central

                     19 District of California;

                     20                    c. are “disinterested” as that term is defined in Bankruptcy Code Section 101 (14)
                     21 and used in Bankruptcy Code Section 327(a) because we:

                     22                            i.         are not a creditor or an insider;
                     23                            ii.        are not and were not an investment banker for any outstanding
                     24 security of the Debtor;

                     25                            iii.       have not been, within three years before the date of the filing of the
                     26 Debtor’s petition, an investment banker for the security of the Debtor or an attorney for such an

                     27 investment banker in connection with the offer, sale or issuance of a security of the Debtor;

                     28
 SHULMAN HODGES &
     BASTIAN LLP
100 Spectrum Center Drive
        Suite 600
                                                                                  7
    Irvine, CA 92618        Employ App GlassRatner TC Hiles
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                                  Exhibit 1
                              Listing Contract
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                               Exhibit 1
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                               Exhibit 1
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                               Exhibit 1
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                               Exhibit 1
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                               Exhibit 1
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                               Exhibit 1
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                               Exhibit 1
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                               Exhibit 1
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                                     Exhibit 2
                                     Resume
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                                    Filed PEIER, C   . P . A .02/09/18 13:11:41
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                            Main Document     Page 27 of 29


    Steven Speier has served as a Bankruptcy Trustee, Judicial Receiver and Referee, Assignee, Chief
    Restructuring Officer, Provisional Director, Real Estate Manager and Broker in hundreds of Federal and
    State Court bankruptcy and litigation cases. He served as the Chapter 11 and/or Liquidating Trustee on
    nineteen of the SunCal land developments secured by loans of approximately $2.0 billion from various
    Lehman Bros. entities. His strengths are his restructuring and communication skills. Steve has over thirty
    years of experience in business serving as a Chief Executive Officer and/or Director of numerous
    companies. His background encompasses diverse experience in several industries including real estate,
    public accounting, banking and technology. Steve has been appointed as a Trustee, Assignee, Receiver
    and/or Referee in hundreds of operating cases including office buildings, retail centers, condominium and
    apartment complexes, hotels/motels, industrial parks, land developments, residential properties, golf
    courses and resorts, parking lots, manufacturing, distribution, technology, payroll and finish carpentry
    companies, operating partnerships, franchises, restaurants, payroll and technology companies. In
    addition, he has served in the past as the General Partner or on the Board of Directors of companies
    controlling and managing numerous limited partnerships consisting of approximately 15,000 investors.


EXPERIENCE

Mr. Speier began his business career in 1973 with a national public accounting firm in Grand Rapids,
Michigan. Shortly after receiving his designation as a Certified Public Accountant in 1975, he joined the
banking industry. During his banking career, Mr. Speier specialized in all aspects of real estate. While
managing a real estate loan portfolio of approximately $1.5 billion spread throughout the United States, he
was responsible for generating and administering new loans annually in excess of $800 million. Upon
completion of his banking career, Mr. Speier joined a national real estate investment company where he
served as President for seven years until he joined the panel of Chapter 7 bankruptcy trustees in the Central
District of California. Subsequently, he served as a partner of a major regional Southern California
accounting firm for eleven years specializing in real estate and bankruptcy. He currently is affiliated with
GlassRatner Brokerage Services, Inc., a subsidiary of the national restructuring and advisory firm of
GlasssRatner. He manages his Trustee and Receivership practices together with his real estate fund
management and brokerage practices.

EDUCATION
•      M.B.A., Seidman Graduate School of Business, Grand Rapids, Michigan (1981)
•      B.S., Northern Michigan University (1973)


PROFESSIONAL CREDENTIALS
•      Certified Public Accountant, Michigan (1975-Present:Inactive), California (1999-Present)
•      Chapter 7 and 11 Bankruptcy Trustee, Central District of California (1998-Present)
•      Judicial Receiver, California Superior Courts (1992-Present)
•      President, California Bankruptcy Forum (2010-2011)
•      Real Estate Broker, Colorado (1984-1992), California (1991-Present), Missouri (1995-2000)




                                              Exhibit 2
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                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is: 100 Spectrum Center
Drive, Suite 600, Irvine, California 92618

A true and correct copy of the foregoing document entitled (specify): CHAPTER 7 TRUSTEE’S APPLICATION FOR AN ORDER
AUTHORIZING EMPLOYMENT OF GLASSRATNER BROKERAGE SERVICES, INC. AS REAL ESTATE BROKER;
DECLARATION OF STEVEN SPEIER IN SUPPORT will be served or was served (a) on the judge in chambers in the form and
manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
Pursuant to controlling General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
document. On (date) February 9, 2018, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                                 Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) February 9, 2018, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage
prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later
than 24 hours after the document is filed.

Debtor
Russel Dennis Hiles, III, 155 Metate Place, Palm Desert, CA 92260

                                                                                                 Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL:
(state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) Not Applicable, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on,
or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

                                                                                                 Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  February 9, 2018                          Lorre Clapp                                               /s/ Lorre Clapp
  Date                                      Printed Name                                              Signature




                This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                                   F 9013-3.1.PROOF.SERVICE
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                                                                 NEF SERVICE LIST

•           Lynda T. Bui (TR) Chapter 7 Trustee trustee.bui@shbllp.com, C115@ecfcbis.com
•           Robert P Goe on behalf of Debtor Russel Dennis Hiles, III kmurphy@goeforlaw.com,
            rgoe@goeforlaw.com;goeforecf@gmail.com
•           Everett L Green on behalf of U.S. Trustee United States Trustee (RS) everett.l.green@usdoj.gov
•           Rika M. Kido on behalf of Chapter 7 Trustee rkido@shbllp.com, avernon@shbllp.com;ecf.filings@shbllp.com
•           Samuel Kornhauser on behalf of Creditor Christopher T Borgeson skornhauser@earthlink.net
•           Joshua Lichtman on behalf of Creditor Farmers Insurance Exchange joshua.lichtman@nortonrosefulbright.com,
            Rhonda.cole@nortonrosefulbright.com
•           William F McDonald, III on behalf of Creditor Bank of America, N.A. Caecf@tblaw.com,
            wfm@tblaw.com;snchampney@tblaw.com
•           Charity J Miller on behalf of Debtor Russel Dennis Hiles, III cmiller@goeforlaw.com,
            kmurphy@goeforlaw.com;goeforecf@gmail.com
•           Randall P Mroczynski on behalf of Creditor Daimler Trust and Ford Motor Credit Company LLC randym@cookseylaw.com
•           Ronak N Patel on behalf of Creditor Treasurer Tax Collector County of Riverside rpatel@rivco.org,
            mdominguez@RIVCO.org
•           Steven G Polard on behalf of Interested Party Cynthia Ellen Hiles spolard@eisnerlaw.com, lewing@eisnerlaw.com
•           Kelly M Raftery on behalf of Creditor Wilmington Savings Fund Society, FSB, as trustee of Stanwich Mortgage Loan Trust
            A, its assignees and/or successors, by and through its servicing agent Carrington Mortgage Services, LLC
            bknotice@mccarthyholthus.com, kraftery@ecf.courtdrive.com
•           Jason K Schrader on behalf of U.S. Trustee United States Trustee (RS) jason.K.Schrader@usdoj.gov
•           Leonard M. Shulman on behalf of Chapter 7 Trustee lshulman@shbllp.com
•           United States Trustee (RS) on behalf of United States Trustee ustpregion16.rs.ecf@usdoj.gov
•           Scott S Weltman on behalf of Creditor KeyBank, N.A. colcaecf@weltman.com
•           Rebecca J Winthrop on behalf of Creditor Farmers Insurance Exchange rebecca.winthrop@nortonrosefulbright.com,
            darla.rodrigo@nortonrosefulbright.com
•           Jennifer C Wong on behalf of Creditor Bank of America, N.A. bknotice@mccarthyholthus.com, jwong@ecf.courtdrive.com
•           Kristin A Zilberstein on behalf of Creditor Wilmington Savings Fund Society, FSB, as trustee of Stanwich Mortgage Loan
            Trust A, its assignees and/or successors, by and through its servicing agent Carrington Mortgage Services, LLC
            ecfnotifications@ghidottilaw.com




                  This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                                     F 9013-3.1.PROOF.SERVICE
